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13

14
                                 IN THE UNITED STATES DISTRICT COURT
15
                                    EASTERN DISTRICT OF CALIFORNIA
16

17   IN THE MATTER OF THE EXTRADITION                   CASE NO. 18-MJ-152 EFB
     OF OMAR ABDULSATTAR AMEEN TO
18   THE REPUBLIC OF IRAQ                               EX PARTE REQUEST TO SEAL AND PROPOSED
                                                        ORDER
19
                                                        UNDER SEAL
20

21

22
            Pursuant to Local Rule 141(b), the United States requests to seal the government’s Motion
23
     Regarding Proposed Disclosure, a copy of which is submitted with this Request, as well as the order
24
     sealing the Motion.
25
            The United States requests to seal the motion because the government has a national security
26
     interest in keeping the content of the disclosure to the Court out of the public sphere. The government
27
     acknowledges that the public and the press have a presumed right of access to court proceedings and
28
              Case 2:18-mj-00152-EFB Document 25 Filed 12/13/18 Page 2 of 3

 1 associated filings. See CBS, Inc. v. United States Dist. Court, 765 F.2d 823, 825 (9th Cir. 1985).1

 2 Accordingly, in order to limit this disclosure, the Ninth Circuit has recognized there are procedural and

 3 substantive conditions that must be satisfied. With respect to the procedural prerequisites to a limiting

 4 access to criminal proceeding, the Ninth Circuit looks to whether “(1) those excluded from the

 5 proceeding must be afforded a reasonable opportunity to state their objections; and (2) the reasons

 6 supporting closure must be articulated in findings.” Oregonian Pub. Co., 920 F.2d at 1466. As for the

 7 substantive conditions, the First Amendment right of access can be overcome by a showing that: “(1)

 8 closure serves a compelling interest; (2) there is a substantial probability that, in the absence of closure,

 9 this compelling interest would be harmed; and (3) there are no alternatives to closure that would

10 adequately protect the compelling interest.” Id.

11          Here, the United States is filing concurrent with the Request a Notice of Request to Seal that will

12 be on the public docket. This notice provides information that the United States is seeking to seal a

13 document relating to this case. Further, the United States has provided a proposed order that sets forth

14 proposed factual findings that articulate the basis for sealing. Finally, the United States is proposing to

15 provide a letter to the defense related to this matter. Accordingly, the procedural requirements are met

16 here.

17          Information that may be properly protected by sealing includes information potentially harmful

18 to national security. United States v. Ressam, 221 F. Supp. 2d 1252 (W.D. Wash. 2002). Disclosure

19 relating to the means, sources, and methods of intelligence gathering can undermine the government’s

20 intelligence capabilities and compromise national security. Al-Haramain Islamic Foundation, Inc. v.

21 Bush, 507 F.3d 1190, 1203-04 (9th Cir. 2007).

22          Therefore, for the reasons stated above, the Court should order the foregoing document be filed

23 under seal.

24
           1
             This right derives from two sources: the common law, see Nixon v. Warner Commc’ns, 435
25 U.S. 589, 597 (1978); accord In re Copley Press, Inc., 518 F.3d 1022, 1029 (9th Cir. 2008), and the
   First Amendment, see Globe Newspaper Co. v. Superior Court, 457 U.S. 596, 603–04 (1982); accord
26 Oregonian Publ’g Co. v. United States Dist. Court, 920 F.2d 1462, 1465 (9th Cir. 1990). Because the
   First Amendment standard is more stringent than the common law standard, “courts have tended to
27 employ the First Amendment standard in situations in which both rights of access are implicated.” In re
   Providence Journal Co., 293 F.3d 1, 11 (1st Cir. 2002); see In re Wash. Post Co., 807 F.2d 383, 390
28 (4th Cir. 1986).
                 Case 2:18-mj-00152-EFB Document 25 Filed 12/13/18 Page 3 of 3

 1                                                           Respectfully submitted,

 2

 3    Dated: December 13, 2018                               McGREGOR W. SCOTT
                                                             United States Attorney
 4

 5                                                     By: /s/ Audrey B. Hemesath
                                                           AUDREY B. HEMESATH
 6                                                         HEIKO P. COPPOLA
                                                           Assistant United States Attorneys
 7

 8

 9
                                               [PROPOSED] ORDER
10
            Having read and considered the papers submitted, and being fully informed, the Court GRANTS
11
     the United States’s Request and FINDS as follows:
12
            1.       Protecting national security information qualifies as a compelling interest; accordingly, a
13
     compelling interest justifying nondisclosure of the aforementioned documents exists in this case.
14
            2.       Without the sealing of the aforementioned documents, there is a substantial likelihood
15
     that information potentially harmful to national security will enter the public sphere.
16
            3.       Anything less than sealing the aforementioned documents will potentially harm national
17
     security. As such, sealing the aforementioned document is a narrowly tailored to achieve the compelling
18
     interest found herein.
19
            Accordingly,
20
            IT IS HEREBY ORDERED that the following documents in the above-captioned case are to be
21
     SEALED until further order of this Court:
22
            1.       The Motion Regarding Potential Disclosure; and
23
            2.       This Request and Order.
24
            IT IS SO ORDERED.
25

26
       Dated: December 13, 2018
27                                                      HON. EDMUND F. BRENNAN
                                                        UNITED STATES MAGISTRATE JUDGE
28
